THE COURT.
Review to annul the order of the respondent court authorizing the plaintiff in an action in condemnation pending in said court entitled County of Kern, Plaintiff, v. Marie T. Ackerman et al.,Defendants (No. 25454), to take immediate possession of the property sought to be condemned after deposit in court as provided in section 14 of article I of the Constitution and section 28 of the Acquisition and Improvement Act of 1925 (Stats. 1925, p. 849). [1] The facts and the contentions of the petitioners are the same as those involved in John W. Young v.Superior Court, (L.A. No. 13888) ante, p. 512 [15 P.2d 163], this day decided. On the authority of that case the order sought to be annulled is affirmed. *Page 785 